Filed 10/19/20                                        Case 20-24783                                               Doc 8




                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF CALIFORNIA
                                          SACRAMENTO DIVISION

           IN RE:                                                       CASE NO. 20-24783 – A – 11

           Gregory G. Smith, M.D.,                                      CHAPTER 11
           A Professional Corporation,

                                         Debtor(s)


                           VERIFIED STATEMENT OF SUBCHAPTER V TRUSTEE

                   In connection with the United States Trustee’s Notice of Appointment of me as

           Subchapter V trustee in this proceeding, I hereby verify that I am a “disinterested person” as

           defined by 11 U.S.C. §101(14) in that I:

                          (a)    am not a creditor, equity security holder or insider of the debtor;

                          (b)    am not, and was not, within two years before the date of filing of the
                                 petition, a director, officer, or employee of the debtor; and

                          (c)    do not have an interest materially adverse to the interest of the estate or of
                                 any class of creditors or equity security holders, by reason of any direct or
                                 indirect relationship to, connection with, or interest in, the debtor, or for
                                 any other reason.

                   Subject to court approval pursuant to 11 U.S.C. § 330, I anticipate seeking compensation

           for my service in this case at an____________
                                             hourly                300.00 in addition to seeking
                                                         rate of $________,

           reimbursement for any actual and necessary expenses I incur.

                   I hereby accept my appointment as subchapter V trustee in this case pursuant to FRBP

           2008.



           Dated: 2020.10OCT.19                                 /s/________________________
                                                                [SIGNATURE BLOCK]           Original
                                                                 Lisa Holder
                                                                 3710 Earnhardt Drive
                                                                 Bakersfield, CA 93306
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                                                                 Lholder@Lnhpc.com
